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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                             WACO DIVISION



PARKERVISION, INC.,                    Civil Action No. 6:20-cv-00108-ADA
                       Plaintiff,
                                       JURY TRIAL DEMANDED
     vs.                                PUBLIC VERSION
INTEL CORPORATION,
                       Defendant.




       DEFENDANT INTEL CORPORATION’S RESPONSE TO PLAINTIFF
          PARKERVISION’S MOTIONS FOR SUMMARY JUDGMENT
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I.     INTRODUCTION

       ParkerVision’s motion (Dkt. 176, “Mot.”) fails to demonstrate that it is entitled to judgment

as a matter of law. First, ParkerVision’s argument for summary judgment on marking fails. With

respect to its Milo product, ParkerVision incorporated a Realtek chip in its Milo product without

marking and subsequently accused products that used the same Realtek chip of infringing five of

the six asserted patents. It is Intel, not ParkerVision, that is entitled to summary judgment on

ParkerVision’s failure to mark the Milo product. On the PV5870 and Samsung Galaxy S5 and S6,

Intel exceeded its initial burden of production, but ParkerVision has not met its burden of

persuasion.   ParkerVision ignores the evidence cited in Intel’s interrogatory responses and

impermissibly tries to shift the burden of persuasion to Intel.

       Second, each of ParkerVision’s arguments seeking summary judgment of no invalidity is

without merit.     ParkerVision’s broadest argument—that Dr. Subramanian impermissibly

concluded that the asserted claims are invalid when stretched to purportedly cover the Intel

products under ParkerVision’s infringement theories—ignores binding Federal Circuit precedent

that expressly endorses the precise type of analysis used by Dr. Subramanian. See 01 Communique

Lab., Inc. v. Citrix Sys., Inc., 889 F.3d 735, 741-42 (Fed. Cir. 2018) (“[t]here [is] nothing improper”

with an accused infringer arguing “that if [the patentee] attempted to expand the scope of its claims

to include systems [like the accused products], then the claims would be invalid in light of the

prior art”). The rest of ParkerVision’s invalidity arguments are replete with factual disputes and,

more generally, miss the forest for the trees:         they focus on isolated statements in Dr.

Subramanian’s report and entirely mischaracterize his careful, detailed invalidity analysis.

       Finally, ParkerVision’s argument that it is entitled to summary judgment that the Intel

Products-At-Issue meet certain purported “key limitations” of certain Asserted Claims also fails.

ParkerVision’s brief does not even specify which limitations ParkerVision argues are satisfied—


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instead referring vaguely to “the charging and discharging claim elements”—much less address

the ample evidence showing non-infringement. And the only evidence that ParkerVision identifies

does not support its argument. ParkerVision’s motion should be denied in its entirety.

II.      LEGAL STANDARD

         Summary judgment is proper only “if the movant shows that there is no genuine dispute as

to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986). To prevail, a movant must

provide evidence that establishes “beyond peradventure all of the essential elements of the claim

or defense.”1 Fontenot v. Upjohn Co., 780 F.2d 1190, 1194 (5th Cir. 1986) (emphasis in original).

III.     INTEL, NOT PARKERVISION, IS ENTITLED TO SUMMARY JUDGMENT ON
         MARKING

         “The burden of proving compliance with marking is and at all times remains on the

patentee.” Arctic Cat Inc. v. Bombardier Recreational Prods. Inc., 876 F.3d 1350, 1367 (Fed. Cir.

2017). While the party raising a marking defense “bears an initial burden of production to

articulate the products it believes are unmarked ‘patented articles’ subject to § 287,” it is a “low

bar.” Id. at 1368. “The alleged infringer need only put the patentee on notice that he or his

authorized licensees sold specific unmarked products which the alleged infringer believes practice

the patent.” Id.; see generally Dkt. 172.

         A.     Intel, Not ParkerVision, Is Entitled to Summary Judgment That
                ParkerVision Failed To Mark Its Milo WiFi Products.

         ParkerVision’s motion for summary judgment on the Milo products effectively concedes

that there is no disputed issue of material fact regarding the marking of those products. As a result,




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    Emphases are added, unless otherwise noted.

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for the reasons provided in Intel’s motion for summary judgment of no pre-suit damages (Dkt.

172), summary judgment should be granted in Intel’s favor on these products.

        ParkerVision does not dispute that its Milo WiFi was an unmarked product that it sold in

the U.S. between 2017-2019—during the term of the patents. Mot. at 10-12. ParkerVision further

admits that its Milo WiFi products used a RealTek WiFi transceiver chip—the RTL8811AU. Ex.

1, PV Suppl. Resp. to Interrog. No. 13 (June 21, 2022) at 32 (“All Milo products used the

RTL8811AU.”); Dkt. 176-7, Parker Decl., ¶6 (“All ParkerVision Milo products includes [sic] a

Realtek RTL8811AU transceiver chip.”).

        Critically, in a suit against Buffalo, ParkerVision accused wireless products that use that

same RealTek chip of infringing the asserted patents. As ParkerVision’s CEO and 30(b)(6)

designee on marking and other litigation concerning the asserted patents (Ex. 2, PV O&R to

30(b)(6) Notice) confirmed, ParkerVision accused all Buffalo AirStation products, at least some

of which use the RTL8811AU chip.2 Ex. 3, Parker Dep. at 613:20-24 (“Q. And ParkerVision

accused all of Buffalo’s AirStation series and wireless [N-Media] Bridge products of infringing its

patents in that case; correct? A. Yes. I see that in the complaint.”); Dkt. 172-2, Buffalo Complaint,

¶21.3   Intel identified to ParkerVision a Buffalo AirStation Product within the scope of

ParkerVision’s allegations against Buffalo that used the RTL8811AU. Ex. 4, Intel Suppl. Resp.

to Interrog. No. 14 (July 1, 2022) at 52-54 (citing Ex. 5, 96100DOC00119098 (User Manual for




2
  All exhibits are attached to the Declaration of Harry Hanson, filed concurrently herewith.
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  ParkerVision argues that Jeff Parker, notwithstanding being the 30(b)(6) designee on these topics,
lacked “independent knowledge of what chips were accused of infringement.” Mot. at 11-12 n.3.
But his testimony was offered on behalf of the company, and ParkerVision had a duty to provide
an educated witness, regardless of whether Mr. Parker had independent knowledge. Brazos River
Auth. v. GE Ionics, Inc., 469 F.3d 416 (5th Cir. 2006) (“[A] rule 30(b)(6) designee does not give
his personal opinions, but presents the corporation’s ‘position’ on the topic.”). ParkerVision
cannot now disclaim the testimony simply because it was unhelpful to its position.

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certain Buffalo AirStations); Ex. 6, 96100DOC00119094 at -095 (photographs of certain Buffalo

AirStations showing RTL8811AU chip)). Intel has therefore plainly met its burden of production

with respect to the Milo WiFi products. Semcon IP Inc. v. Huawei Device USA Inc., 2017 WL

6343771, at *3 (E.D. Tex. Dec. 12, 2017) (“By identifying a complaint in which Semcon’s

predecessor accused Intel products of infringing the ’061 patent, which resulted in the relevant

license agreement between Transmeta and Intel, TI met its initial burden of production.”).

       ParkerVision’s arguments to the contrary fail. First, ParkerVision sets up a straw man by

arguing that Intel failed to investigate if the Buffalo AirStation Products were sold, used, or offered

for sale in the U.S. Mot. at 12. ParkerVision accused the Buffalo products containing the RealTek

chip of infringement, and “[a] court would be hard-pressed to conclude an alleged infringer could

not rely on [infringement] allegations by the patentee to meet its burden under Arctic Cat.” KAIST

IP US LLC v. Samsung Elecs. Co., 2018 WL 10498197, at *3 n.1 (E.D. Tex. 2018).

       Second, ParkerVision argues that ParkerVision could not assert the RTL8811AU infringed

because it “did not know how that RTL8811AU chip was configured or operated.” Mot. at 11.

But in the Buffalo Complaint, ParkerVision accused all AirStation products—some of which

indisputably use the RTL8811AU chip. Dkt. 172-2, Buffalo Complaint, ¶¶21, 73, 96, 112, 122,

134. See KAIST IP, 2018 WL 10498197, at *3 n.1; Semcon, 2017 WL 6343771, at *1.

       Third, ParkerVision cannot overcome its prior allegations with self-serving and contrary

statements from its technical expert. ParkerVision’s expert, Dr. Steer, now asserts that the Realtek

RTL8812BU, RTL8192BU, or RTL8188ER “chips have different functionalities and no

conclusions can be drawn about the similarities or differences between the configuration/operation

of these chips and the Realtek RTL8811AU.” Mot. at 11. But Dr. Steer does not identify any

differences in the method of down-conversion between the RTL8811AU and other Realtek chips.




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Ex. 7, Steer Reb. Rpt., ¶82 (“[N]o conclusions can be drawn about the similarities or differences

between the configuration/operation of the Realtek RTL8811AU and Realtek RTL8192BU and

RTL8188ER.”). Instead, ParkerVision and its expert have disclaimed all knowledge of how the

RTL8811AU chip works, which means it cannot meet its burden to show that the Milo WiFi does

not practice the asserted patents.

       Intel, not ParkerVision, is entitled to summary judgment on marking.

       B.      ParkerVision Is Not Entitled to Summary Judgment On The PV5870.

               1. The ’736 and ’673 patents.

       ParkerVision is not entitled to summary judgment with respect to marking of the PV5870

and the ’736 and ’673 patents. ParkerVision does not dispute that it failed to mark the PV5870

with the ’736 and ’673 patents or that it offered the PV5870 for sale in the U.S. after issuance of

the ’736 and ’673 patents. Additionally, Intel provided claim charts showing that, based on

ParkerVision’s own allegations, the PV5870 practiced claims of the ’736 and ’673 patents. Ex. 8,

Intel Suppl. Resp. to Interrog. No. 14 (Apr. 22, 2022) at 24-30.

       ParkerVision criticizes Intel’s claim charts because they are “based on a claim chart

ParkerVision submitted in the ITC case … mapping the PV5870 to different patents.” Mot. at 9

(emphasis in original). But Dr. Steer’s disagreement with Intel’s claim charts—which plainly

exceeded Intel’s initial burden of production under Arctic Cat—does not relieve ParkerVision of

its burden to prove compliance with marking. Arctic Cat, 876 F.3d at 1369 (“The alleged infringer

need not produce claim charts to meet its initial burden of identifying products.”). Moreover,

ParkerVision entirely ignores the evidence Intel cited to ParkerVision showing the close

relationship between the patents ParkerVision alleged were practiced by the PV5870 (including

the ’902, ’474, ’725, and ’528 patents) and the ’736 and ’673 patents. Ex. 8, Intel Suppl. Resp. to

Interrog. No. 14 (Apr. 22, 2022) at 23-32; see also Ex. 9, Steer Op. Rpt., ¶459 (“the patents-in-suit


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generally relate to the same down-conversion technology.”).            This “close relationship” is

sufficient to meet Intel’s burden of production under Arctic Cat. See Innovation Scis. v. HTC,

2020 WL 5798249, at *2 (E.D. Tex. 2020) (“In support of this belief, HTC points to Innovation’s

assertion that the identified products practice the ’425 patent; the close relationship between the

’425 patent and the asserted patents; and Dr. Wong’s own statement that she believes LG’s

smartphones practice all of Innovation’s smart home patents.”). ParkerVision, by contrast, has not

even attempted to meet its burden of showing that the PV5870 does not practice the ’673 and ’736

patents, and summary judgment is therefore inappropriate.

               2. The ’902, ’474, ’725, and ’528 patents.

       ParkerVision does not dispute that the PV5870 was sold in the U.S. and practiced the ’902,

’474, ’725, and ’528 patents. Ex. 10, PV Suppl. Resp. to Interrog. No. 12 (Feb. 2, 2022).

ParkerVision asserts that it is entitled to summary judgment on the PV5870 and those four patents

because the packaging for the PV5870 purportedly included a statement directing individuals to

its homepage: ParkerVision.com. Mot. at 9-10. That argument fails for at least two reasons.

       First, ParkerVision’s generic reference to its homepage is insufficient under Section 287.

Instead of directing individuals to the “address of a posting on the Internet, accessible to the public

without charge for accessing the address, that associates the patented article with the number of

the patent”—as required by § 287—ParkerVision directed individuals only to its homepage:

ParkerVision.com. ParkerVision’s homepage never associated the PV5870 with any asserted

patent—indeed, it never mentioned any asserted patent and mentioned the PV5870 only once (as

addressed below). Accordingly, this disclosure cannot satisfy the plain language of § 287(a). Cf.

A to Z Machining Serv., LLC v. Nat’l Storm Shelter, LLC, 2011 WL 6888543, at *3 (W.D. Okla.

2011) (granting summary judgment when a patentee failed to meet the language of Section 287).




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       Second, the sole mention of the PV5870 on ParkerVision’s homepage contained a link to

a webpage about the PV5870, but the PV5870 webpage to which the homepage was linked

likewise did not list any patents. Ex. 11, 96103DOC00335457 (ParkerVision.com) at 463-64, 467-

68, 471-72, 475-76, 479-80.4

       Because ParkerVision’s packaging directed individuals only to ParkerVision’s homepage,

which in turn only directed individuals to the PV5870 webpage, and because neither page listed

patent numbers, ParkerVision failed to connect the website listed on its packaging with the

website listing the patents, as required to meet its marking obligations. Mfg. Res. Int’l Inc. v. Civiq

Smartscapes LLC, 397 F. Supp. 3d 560, 578 (D. Del. 2019) (virtual marking cannot create a

“research project for the public.”). At a minimum, these facts create a disputed issue of material

fact precluding summary judgment.

       C.      ParkerVision Is Not Entitled To Summary Judgment On Marking The
               Samsung Galaxy S5 And Samsung Galaxy S6.

       ParkerVision argues that it is entitled to summary judgment on the marking of the Samsung

Galaxy S5 and S6 (Mot. at 5-8), but Intel has met its burden with respect to these products as well.

       First, ParkerVision previously alleged in other litigations that the Samsung Galaxy S5 and

S6 infringed the ’528 patent with either Samsung or Qualcomm transceivers. Ex. 12, PV_055517

(Samsung Galaxy S6 Claim Chart); Ex. 13, PV_055558 (Samsung Galaxy S5 Claim Chart).

       Second, ParkerVision’s license and covenant-not-to-sue with Samsung authorized

Samsung to use either Qualcomm or Samsung transceivers. Ex. 14, PVMDFL0000275 (Samsung

License). Thus, as Intel noted, the use of Qualcomm or Samsung transceivers in Samsung phones




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  ParkerVision had two versions of the PV5870 webpage, one of which listed patents (compare
Ex. 11, 96103DOC00335457 at 463-464, 467-468, 471-472, 475-476, 479-480, with Dkt. 176-18
(SJ Mot., Ex. 18)), but ParkerVision’s homepage never linked to the version that listed patents.

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created a marking obligation. Ex. 4, Intel Suppl. Resp. to Interrog. No. 14 (July 1, 2022) at 51-52

(citing In re Yarn Processing Pat. Validity Litig. (No. II), 602 F. Supp. 159, 169 (W.D.N.C. 1984)).

       Third, Intel demonstrated that the Samsung Galaxy S5 and S6 are unmarked by pointing

to (1) the lack of a requirement to mark in the Samsung License; and (2) Samsung Galaxy S5 and

S6 packaging that does not have patent numbers. Ex. 8, Intel Suppl. Resp. to Interrog. No. 14

(Apr. 22, 2022) at 35-37 (citing Ex. 14, PVMDFL0000275 (Samsung License); Ex. 15,

96103DOC00247381-82 (Samsung Galaxy S5 packaging); Ex. 16, 96103DOC00247383-85

(Samsung Galaxy S6 packaging)). ParkerVision does not dispute that Samsung never marked the

Samsung Galaxy S5 or S6. Ex. 1, PV Suppl. Resp. to Interrog. No. 13 (June 21, 2022) at 30-32.

       Fourth, Intel provided evidence that the Samsung Galaxy S5 and S6 were available for

sale in the U.S. after the Samsung License. Ex. 4, Intel Suppl. Resp. to Interrog. No. 14 (July 1,

2022) at 50-52 (citing Ex. 11, 96103DOC00335457 (2017 Samsung US Website Printouts); Ex.

17, PVMDFL0003242 (market report for Samsung Galaxy S5 US Sales); Ex. 18,

PVMDFL0003242 (market report for Samsung Galaxy S6 US Sales)).

       ParkerVision argues that Intel “fails to identify any chips used in a Samsung phone

sold/offered for sale after July 13, 2016.” Mot. at 5. But ParkerVision’s infringement allegations

against the Samsung Galaxy S5 and S6 in two other actions that Intel cited were not limited to

specific model years. Ex. 19, ITC Complaint, ¶¶93, 111; Ex. 20, Florida Complaint, ¶¶31-33.

Intel also cited evidence showing U.S. sales after July 13, 2016 of the products ParkerVision

accused of infringement. Ex. 4, Intel Suppl. Resp. to Interrog. No. 14 (July 1, 2022) at 51-52

(citing Ex. 17, PVMDFL0003242 (US sales of the Samsung Galaxy S5 until Q3 2017); Ex. 18,

PVMDFL0003242 (US sales of the Samsung Galaxy S6 until Q2 2018)). That satisfied Intel’s

burden. Semcon, 2017 WL 6343771, at *3 (“By identifying a complaint in which Semcon’s




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predecessor accused Intel products of infringing the ’061 patent, which resulted in the relevant

license agreement between Transmeta and Intel, TI met its initial burden of production.”).

Moreover, ParkerVision cites no evidence that the chips in the Samsung Galaxy S5 or S6 changed

after July 13, 2016: Dr. Steer states that the transceiver chip changed between the Samsung Galaxy

S5 and the Samsung Galaxy S6, but not that it changed after July 13, 2016. Mot. at 6-7.

       Intel’s disclosure satisfies Arctic Cat. Realtime Data LLC v. Echostar Corp., 2018 WL

11364376, at *5-6 (E.D. Tex. Oct. 16, 2018) (defendants met burden of production by identifying

products plaintiff previously accused of infringing but subsequently licensed and noting that

license agreement did not require marking and that products were not marked). At a minimum,

these facts create a disputed issue of material fact warranting denial of ParkerVision’s motion.

IV.    PARKERVISION IS NOT ENTITLED TO PARTIAL SUMMARY JUDGMENT
       ON INVALIDITY

       A.      ParkerVision Is Not Entitled To Summary Judgment That The Asserted
               Claims Of The ’736 Patent Are Not Invalid.

       ParkerVision argues that it is entitled to summary judgment of no invalidity of ’736 patent

claim 1 (and dependent claim 6) because claim 1 recites that a “first switch is off outside the

second sampling aperture,” but, according to ParkerVision, Dr. Subramanian improperly changed

“first switch” to “second switch” and thereby allegedly performed the wrong invalidity analysis.

Mot. at 12-13. ParkerVision is wrong. Dr. Subramanian—just like ParkerVision and its expert—

recognized an obvious typographical error in claim 1 and analyzed the claim correctly.

       Claim 1 recites two switches—a “first switch” and a “second switch”—that are turned on

and off by first and second control signals, respectively. The claim recites that “the first switch is

on during the first sampling aperture and … the first switch is off outside the first sampling

aperture.” For the second switch, the claim language parallels the “first switch” language, but

there is an obvious typographical error regarding which switch is off during the second sampling


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aperture: “the second switch is on during the second sampling aperture and … the first [sic:

second] switch is off outside the second sampling aperture.” Dkt. 1-7, ’736 patent, cl. 1.

       The typographical error in claim 1 is obvious from the face of the patent. First, the

language of the “second switch” limitation is inconsistent with other claim language. As noted

above, the “second switch” language is inconsistent with the parallel language for the “first switch”

limitation in claim 1. It is also inconsistent with the parallel “third switch” and “fourth switch”

limitations in dependent claim 11, which refer to a particular numbered switch being off outside

the same-numbered sampling aperture. See Dkt. 1-7, ’736 patent, cl. 11 (“the third switch is on

during the third sampling aperture and … the third switch is off outside the third sampling

aperture” and “the fourth switch is on during the fourth sampling aperture and … the fourth switch

is off outside the fourth sampling aperture”).        Second, the “second switch” limitation is

inconsistent with the Abstract, which correctly recites that the “second switch is off outside the

second sampling aperture.” Id., at Abstract. Third, the “second switch” limitation is inconsistent

with the specification. If the claim required the first switch to be on during the first sampling

aperture, and off outside both the first and second sampling apertures, then the first and second

sampling apertures would have to be coterminous.5 But the patent contains no disclosure of two

switches controlled by coterminous sampling apertures.

       Moreover, ParkerVision and its expert (Dr. Steer) have repeatedly interpreted the claim

in the same way that Dr. Subramanian has—recognizing that “first” should be “second.”

       First, ParkerVision’s infringement contentions—to which Dr. Subramanian was

responding in his opening report—applied claim 1 in the same way that Dr. Subramanian did. For



5
 Indeed, under a literal interpretation of claim 1 of the of ’736 patent including the typographical
error, the Intel products would not infringe for an additional reason—the alleged first and second
sampling apertures in the Intel products undisputedly are not coterminous.

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example, in its November 6, 2021 Final Infringement Contentions (“FICs”), ParkerVision asserted

that Intel’s SMARTi 5 products purportedly infringe the ’736 patent

                                                                              :

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    
                                                                                    Id. at 21.

In fact, ParkerVision served seven claim charts asserting that the Intel products

                                                                              .6

        Second, Dr. Steer’s rebuttal report applied claim 1 in the same way as Dr. Subramanian.

In his conception/reduction-to-practice analysis, Dr. Steer alleges that a ParkerVision patent

application supports a reduction to practice of the “second switch” element because it discloses

that “the second switch [not the first switch] is off outside the second sampling aperture.” Ex.

22, Steer Reb. Rpt., Ex. D-5 at 29.

        Third, Dr. Steer’s opening report applied the same interpretation as Dr. Subramanian:

Each claim chart addressing ’736 patent claim 1 asserts that the Intel products

                                                        . Ex. 23, SMARTi 4G chart, pp. 31-41;

Ex. 24, SMARTi 4.5 chart, pp. 37- 46; Ex. 25, SMARTi 5 chart, pp. 55-70; Ex. 26, SMARTi 6T

chart, pp. 55-70; Ex. 27, SMARTi 7.1 chart, pp. 37-49; Ex. 28, SMARTi 8 chart, pp. 35-48.7


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  Ex. 29, June 26, 2020 Preliminary Contentions (PMB5750), pp. 5-7; Ex. 21, Nov. 6, 2021 FICs
(SMARTi 5), pp. 20-31; Ex. 31, Nov. 6, 2021 FICs (SMARTi 6), pp. 22-34; Ex. 32, Nov. 6, 2021
FICs (SMARTi 7), pp. 17-25; Ex. 33, Nov. 6, 2021 FICs (SMARTi 8), pp. 18-29; Ex. 34, May 24,
2022 FICs (SMARTi 4G), pp. 24-31; Ex. 35, June 9, 2022 FICs (SMARTi 4.5), pp. 27-33.
7
  Dr. Steer’s opening report includes an alternative analysis based on the claim language with the
typographical error, but this alternative analysis alters the claim language in a different, improper
way. Dr. Steer states that

                                                                    Ex. 25, SMARTi 5 chart, p. 55.

                                                 11
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       B.      ParkerVision Is Not Entitled To Summary Judgment That The Asserted
               Claims Reciting An “Energy Transfer System” Are Not Invalid.

       ParkerVision seeks summary judgment that all but one of the asserted claims are not invalid

because Dr. Subramanian allegedly “ignores” the requirement that the “storage element” be part

of “an energy transfer system.” Mot. at 13-14. This argument mischaracterizes his analysis, which

correctly addressed each claim element in light of ParkerVision’s infringement contentions.

       As explained in Section IV(C) below, Dr. Subramanian concludes, among other things,

that if the claims are expanded to allegedly cover Intel’s products (as set forth in ParkerVision’s

infringement contentions), then the claims would be invalid, consistent with the type of analysis

approved by the Federal Circuit in 01 Communique Lab., Inc. v. Citrix Sys., Inc., 889 F.3d 735,

741-42 (Fed. Cir. 2018). Dr. Subramanian performed a careful, element-by-element analysis,

comparing the prior art against ParkerVision’s infringement claim charts for each element.

       For the “storage element” limitations, Dr. Subramanian addressed the assertions in

ParkerVision’s claim charts that various Intel

                                   ParkerVision’s claim charts for these limitations did not use the

phrase “energy transfer system,” much less explain how the Intel capacitors allegedly satisfy the

three requirements that ParkerVision’s motion says are required for an “energy transfer system.”9



This analysis changes the claim, effectively inserting the underlined words: “there is a period of
time when the first switch is off outside the second sampling aperture”—thereby allowing the
claim to be satisfied if there is any “period of time” when the first switch is off outside the second
sampling aperture. But the literal language of the claim requires that the first switch is “off outside
the second sampling aperture”—i.e., whenever the second switch is off—not just during a portion
of that time. In any event, even if this new interpretation (not presented in ParkerVision’s
infringement contentions) were correct, Dr. Subramanian substantively addressed this
interpretation in his invalidity analysis, showing that a
                                                  —was known in the prior art and would have been
obvious. See, e.g., Ex. 30A, Sub. Op. Rpt., ¶¶195, 601-609, 1265-74, 1373-86.
8
  See, e.g., Ex. 30A, Sub. Op. Rpt., ¶¶316-34, 488-98, 1275-95, 1691-704.
9
  See, e.g., Ex. 21, Nov. 6, 2021 FIC claim chart for ’736 patent (SMARTi 5) at 16-19.

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Mot. at 13-14.    In that context, Dr. Subramanian stated that “ParkerVision’s infringement

contentions do not identify any particular characteristics required for an element ‘of an energy

transfer system’….” Mot. at 13-14 (quoting Ex. 30A, Sub. Op. Rpt., ¶¶492, 1280, 1695). He was

stating correctly that ParkerVision had not explained how each accused Intel

                                        He then explained at length how: the prior art capacitors

“correspond[ed] directly” to the

                                                and thus would invalidate under ParkerVision’s

stretch infringement theory under 01 Communique. See, e.g., Ex. 30A, Sub. Op. Rpt., ¶492-98,

1280-88, 1695-704.      That was the correct invalidity analysis in view of ParkerVision’s

infringement contentions, and ParkerVision’s motion should be denied on that basis alone.

       ParkerVision argues that Dr. Subramanian should have done more analysis for the “storage

element” limitations, based on two separate passages from its infringement contentions. Mot. at

14. First, ParkerVision cites to a single paragraph in its Second Amended FICs. Mot. at 14 (citing

Dkt. 176-24 at 20-21). But that paragraph (below)—which was not in ParkerVision’s claim

charts—sets forth only a general description of an “energy transfer system” and does not mention

ParkerVision’s alleged requirement of “low impedance load circuitry” (Mot. at 14). Moreover, it

provides no evidence or substantive analysis regarding how any specific Intel product exhibits the

characteristics allegedly required for “an energy transfer system”:




Dkt. 176-24, Sec. Am. FICs, pp. 20-21. In any event, as noted below, Dr. Subramanian’s analysis

addressed the alleged features of an energy transfers system and demonstrated that the prior art


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disclosed them                                          Second, ParkerVision cites a page from its

infringement contention claim chart for the ’902 patent. Mot. at 14 (citing Dkt. 176-23 at 24). But

that page does not address the “storage element” limitation or mention an “energy transfer system.”

Dkt. 176-23, Nov. 6, 2021 FICs for ’902 patent (SMARTi 5), p. 24; see generally id., pp. 1-38.

       Moreover, Dr. Subramanian did substantively address each alleged feature of an energy

transfer system throughout his invalidity report, repeatedly explaining that the prior art disclosed

these features                                                 . Dr. Subramanian’s report belies

ParkerVision’s assertion that Dr. Subramanian “had no way to address” these features. Mot. at 14.

       Regarding ParkerVision’s alleged requirement that an energy transfer system “transfer[]

energy to the low impedance load circuitry” (id.), Dr. Subramanian explained that the Intel

                                                                                    . See, e.g., Ex.

30A, Sub. Op. Rpt., ¶¶494, 512, 529, 534. Nonetheless, Dr. Subramanian explained how the prior

art operated

                      . See, e.g., id., ¶¶326-334, 511 (“According to ParkerVision’s allegations,

…

                 ….”), 512, 513 (“Under ParkerVision’s infringement theory, … the charging and

discharging of Razavi’s capacitors disclose this element.”), 520 (“Under ParkerVision’s

infringement theory, such a modification would result in a low-impedance load into which the

capacitors in Razavi’s mixers … would discharge.”), 564 (“Since ParkerVision’s contentions

appear to assume that any capacitor that discharges even minimal charge into a load is discharging

into a low impedance load, then under ParkerVision’s infringement theory, a conventional mixer

followed by filters and an amplifier such as disclosed in Razavi alone would likewise satisfy this

limitation.”), 565-566, 981-985, 1388-1392, 1772-1776, 2135-2139, 2535-2539, 2947-2953.




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       Dr. Subramanian also repeatedly addressed the alleged requirements that an energy transfer

system “fill[] in gaps between discrete signal portions being output from the switch” and

“discharg[e] stored energy to form a lower frequency/down-converted signal.” Mot. at 14.

ParkerVision alleges that a sampling switch creates gaps in its output signal when it turns off and

that the storage element discharges energy to fill those gaps and form a down-converted signal.

Ex. 9, Steer Op. Rpt., ¶468. Dr. Subramanian disagreed that



                                                                                . Nonetheless, Dr.

Subramanian addressed these alleged requirements, for example, in his “storage element” analysis

(e.g., Element [1c] of the ’736 patent) where he explained that the accused



                                                 . Id., ¶494 (“The capacitor [in Razavi] does not

‘output[] a down-converted in-phase baseband signal portion …’ as required by the claim, because

[it] is merely a filtering capacitor that filters high frequency components ….



                                                     ”).10   Dr. Subramanian also addressed these

alleged requirements, for example, when he analyzed ’736 patent Elements [1b] and [1f] (which

require a sampling switch that generates a discrete-time signal and a storage element that

discharges energy when the switch is off),11 and Element [1h] (which requires the storage element

to discharge energy to form the down-converted signal).12




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   See also id., ¶¶512, 907, 909, 1282, 1698, 2462, 2464, 2067.
11
   See id., ¶¶474-87, 510-25, 873-98, 938-45, 1265-74, 1312-48, 1676-90, 1715-36, 2050-59,
2082-98, 2435-54, 2492-99, 2815-46, 2909-15.
12
   See also id., ¶¶533-35, 952-54, 1355-57, 1744-46, 2106-08, 2506-08, 2922.

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       C.      ParkerVision Is Not Entitled To Summary Judgment Of No Invalidity For
               Claims On Which Dr. Subramanian Made Conditional Invalidity Arguments
               Authorized by the Federal Circuit’s 01 Communique Decision.

       ParkerVision seeks partial summary judgment of no invalidity with respect to some claims

insofar as Dr. Subramanian opines that, if the claims are expanded to allegedly cover Intel’s

products (“under ParkerVision’s infringement theory”), then the claims would be invalid. Mot. at

14-20. ParkerVision’s argument (also made in its Motion to Exclude Certain Testimony of Dr.

Subramanian (Dkt. 177)) is directly contrary to settled Federal Circuit law.

       In 01 Communique, the Federal Circuit held that “[t]here [is] nothing improper” with

arguing “that if [the patentee] attempted to expand the scope of its claims to include systems [like

the accused products], then the claims would be invalid in light of the prior art.” 889 F.3d at

741-42. There, the defendant argued that if the plaintiff attempted to expand the scope of its claims

to cover the defendant’s products, “the claims would be invalid in light of the prior art.” Id. The

Federal Circuit held that “[t]his argument … correctly recognized that claim terms must be

‘construed the same way for both invalidity and infringement.’” Id. at 743. Thus, the Federal

Circuit explained that a party is not precluded “from arguing that if a claim term must be broadly

interpreted to read on an accused device, then this same broad construction will read on the prior

art.” Id. at 742. Dr. Subramanian’s conclusion here—that if ParkerVision applies its claims

broadly enough to cover the Intel products, then its claims would cover the prior art and be

invalid—is exactly the argument endorsed by the Federal Circuit in 01 Communique.

       ParkerVision cites only two cases in support of its argument, both of which predate 01

Communique. Mot. at 16 (citing Genband US LLC v. Metaswitch Networks Corp., 2015 U.S. Dist.

LEXIS 176746, at *7-8 (E.D. Tex. Sept. 30, 2015); Metaswitch Networks Ltd. v. Genband US

LLC, 2016 U.S. Dist. LEXIS 28289, at *18 (E.D. Tex. Mar. 7, 2016)). Moreover, at least one

decision from the same district court after 01 Communique endorses “conditional” invalidity


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arguments like Dr. Subramanian’s here. See Longhorn HD LLC v. NetScout Sys., Inc., 2022 WL

1792904, at *2 (E.D. Tex. Mar. 30, 2022) (denying summary judgment motion: “the invalidity

opinions offered by NetScout’s expert are arguably based on the claim scope as outlined in

Longhorn’s infringement contentions .… [T]he invalidity analysis to which Longhorn objects is

an acceptable invalidity analysis under Communique.”). Other courts have too. See Intel Corp.

v. Tela Innovations, Inc., 2021 WL 1222622, at *35 (N.D. Cal. Feb. 11, 2021) (denying motion to

strike “conditional” invalidity opinion of Dr. Subramanian: “[Dr. Subramanian] argues that if the

asserted claims are interpreted broadly enough to apply to the Accused Products, they must also

be interpreted broadly enough to apply to … the alleged prior art…. That argument is what the

Federal Circuit explicitly approved in [01 Communique]”).

       ParkerVision also argues, with respect to the Tayloe reference (for which Dr.

Subramanian’s invalidity analysis did not rely on ParkerVision’s infringement theories), that Dr.

Subramanian provided only “an unsupported conclusory assertion” that Tayloe’s storage element

“outputs a down-converted … baseband signal portion” (as required claims 5 and 9 of the ’528

patent and claims 1 and 27 of the ’736 patent).         Mot. at 17 (emphases ParkerVision’s).

ParkerVision is incorrect. For the ’736 patent, Dr. Subramanian explained that Tayloe’s capacitors

(which are storage elements) charge to average values of the RF signal during different phases of

the RF signal. See, e.g., Ex. 30A, Sub. Op. Rpt., ¶2851. He then provided additional analysis

(with extensive citations to Tayloe) describing how the capacitors form the down-converted

baseband signal portions based on the “average values” noted above. Id., ¶2855 (“Tayloe discloses

that its capacitors 72, 74, 76, and 78 store energy from the input RF signal f1 … to produce the

down-converted signal. Namely, the energy stored in the capacitor 72 forms the in-phase (0 degree)

baseband signal portion of the input signal f1.”). Dr. Subramanian’s explanation (including




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detailed excerpts from Tayloe) spans three pages and is neither conclusory nor unsupported. His

analysis for the ’528 patent refers back to the above analysis for the ’736 patent and therefore

likewise discloses how the limitation is met. Id., ¶2974. Dr. Subramanian’s analysis creates, at a

minimum, a disputed issue of material fact.

       D.      ParkerVision Is Not Entitled To Summary Judgment That Claims Reciting
               A Differential Amplifier Outputting A Differential Signal Are Not Invalid.

       ParkerVision seeks summary judgment of no invalidity for ’528 patent claims 5 and 9 and

’736 patent claims 1 and 27 because Tayloe (both alone and in combination with Palmer) allegedly

does not disclose the claimed “differential amplifier circuit” that not only receives but also outputs

a differential signal. Mot. at 20-22. ParkerVision is again wrong.

       While Dr. Subramanian does not dispute that the differential amplifiers in Tayloe and

Palmer output “single-ended”—rather than “differential”—signals, he explains why it would have

been obvious to modify Tayloe’s and Palmer’s amplifiers to output differential signals. See Ex.

30A, Sub. Op. Rpt., ¶¶2929, 2932.13 His analysis cites back to the explanation he gave for the

combination of another reference (i.e., Razavi) with Palmer:

       [I]t would have been obvious to modify Palmer’s differential amplifier to generate
       a differential output. A POSITA would have understood that differential amplifiers
       often use differential outputs when the signal is small and could otherwise
       disappear relative to noise on the reference (ground) line. This has been well-
       known for many decades, and a POSITA would know to apply differential outputs
       when the signal is small. The combination of Razavi and Palmer therefore renders
       Element [1j] obvious because a POSITA would have known that an output can be
       represented in either single-ended or differential form and that differential is
       favored for small signals. See, e.g., U.S. Patent 5,021,744 to Van De Plassche at
       2:5-8 (“Therefore, it is an object of the invention to provide a differential amplifier
       which enables both a single ended and a differential class A signal to be taken
       directly from its outputs.”)).




13
  Dr. Subramanian’s analysis for the ’528 patent likewise relies on this same analysis, citing back
his analysis of Tayloe with respect to Element [1j] of the ’736 patent. Id. ¶2987.

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Id., ¶547. ParkerVision’s argument ignores this obviousness argument, which, at a minimum,

creates a factual dispute that precludes summary judgment.

       ParkerVision also makes a naked assertion (without citing expert support) that “Palmer []

expressly teaches away from a differential signal.” Mot. at 22. Such an unsupported allegation

does not rebut Dr. Subramanian’s obviousness analysis or meet ParkerVision’s burden.

       Finally, ParkerVision argues that partial summary judgment should be granted with respect

to invalidity grounds based on Tayloe (alone and with Palmer) and “any other prior art reference

in view of Palmer.”      Mot. at 22.     ParkerVision is again wrong.        First, as noted above,

ParkerVision’s unsupported allegation that Palmer teaches away is insufficient to meet its burden

of showing no genuine issue of material fact as to invalidity. Second, for every invalidity ground

on which Dr. Subramanian relied on Palmer, he refers back to the same analysis cited above

explaining why it would have been obvious to output a down-converted differential baseband

signal. See Ex. 30A, Sub. Op. Rpt., ¶¶961, 1015, 1363, 1422, 1754, 1806, 2115, 2169, 2517, 2569.

       E.      ParkerVision Is Not Entitled To Summary Judgment Of No Invalidity For
               Lack Of Written Description.

       ParkerVision seeks summary judgment that ’528 patent claims 5 and 9 and ’736 patent

claims 1 and 27 are not invalid for lack of written description. Mot. at 22-23. Dr. Subramanian

explained in his opening report that these claims are invalid because the specification does not

disclose the claimed differential amplifier circuit, which not only receives a differential signal but

also outputs a differential signal. Ex. 30A, Sub. Op. Rpt., ¶546. ParkerVision argues that Figure

201 (below) from those patents provides written description because it shows differential

amplifiers 19720 and 19722 (red), each allegedly outputting a differential signal via two outputs

(pink). Mot. at 22. ParkerVision is wrong.




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         As Dr. Subramanian explained, a differential signal has two components that are the

inverse of each other. Ex. 30A, Sub. Op. Rpt., ¶171 (“Differential signaling involves transmitting

a signal over two wires rather than just one—but the signal transmitted on one of the lines is

intentionally ‘inverted’ (i.e., shifted by 180 degrees so that it has the opposite value).”); accord

Ex. 9, Steer Reb. Rpt., ¶208 n.7. Neither amplifier in Figure 201 outputs a differential signal

because the lower output of each amplifier is connected to ground (yellow) and thus outputs a

constant zero volts, while the upper output (blue) outputs a down-converted signal with a voltage

that changes. Since these signals are not the inverse of each other, the amplifiers do not output a

differential signal as the claims require. Ex. 30A, Sub. Op. Rpt., ¶171.

         This fact is confirmed by Figures 197 and 213, which show the same differential amplifiers

19720 and 19722 outputting single-ended baseband signals (red).




Dkt. 1-7, ’736 patent, Fig. 197; see also id., Fig. 213 (showing amplifier 19720 with single-

ended output). Indeed, Figures 197 and 213 depict amplifiers 19720 and 19722 as outputting

single-ended signals in the same way as the Tayloe and Palmer figures that ParkerVision itself

cited and reproduced in its Motion as examples of amplifiers outputting single-ended signals:



14
     Red markings in ParkerVision’s Motion (at 22). Blue, yellow, and pink markings added here.

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Mot. at 20 (showing Tayloe Fig. 3; “Each amplifier has a single-ended output (one line coming

out, shown in red) ….”); see also Mot. at 21 (showing Tayloe Fig. 3 with Palmer’s amplifiers;

“Each Palmer amplifier … has a single-ended output (one line coming out, shown in red) ….”).

V.     PARKERVISION’S ARGUMENT THAT CERTAIN LIMITATIONS ARE
       SATISFIED AS A MATTER OF LAW BY THE PRODUCTS-AT-ISSUE FAILS

       Finally, ParkerVision seeks summary judgment that the Intel Products-At-Issue meet

purported “key limitations” of claims 6 and 16 of the ’725 patent, claims 1 and 27 of the ’736

patent, and claims 5 and 17 of the ’673. Mot. at 2, 23-25. Yet ParkerVision fails even to specify

the “limitations” that it says are satisfied—referring only vaguely to “the charging and discharging

claim elements” (id. at 25)—much less engage with the claim requirements or the ample evidence

showing, at a minimum, genuine disputes of material fact precluding summary judgment.

       A.      The Evidence Shows That The Intel Products-At-Issue Do Not Meet The
               “Charging And Discharging” Claim Limitations.

       ParkerVision fails to explain what it means by “the charging and discharging” requirements

(Mot. at 23-25), but appears to be referring to the following limitations:

  Patent Claim                                       Limitation
 Dkt. 1-5, ’725    “the switching device … receiving … a control signal that controls a charging
 patent, cl. 1     and discharging cycle of the storage module by controlling the switching
 (from which       device so that a portion of energy is transferred from the RF information
 cls. 6 and 16     signal to the storage module during a charging part of the cycle and a
 depend)           portion of the transferred energy is discharged during a discharging part of
                   the cycle”
 Dkt. 1-7, ’736    “the first and second control signals each control a charging and discharging
 patent, cl. 1     cycle of their respective energy storage element so that for each switch a


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 (from which     portion of energy from the modulated carrier signal is transferred to the
 cls. 27         respective energy storage element when the respective switch is on during
 depends)        the charging cycle, and a portion of previously transferred energy is
                 discharged during the discharging cycle for each respective switch when the
                 respective switch is off”
 Dkt. 1-8, ’673 “said pulses cause said switch to open outside of said apertures and cause said
 patent, cl. 1   switch to close and sample the modulated carrier signal during said apertures
 (from which cl. by transferring energy from the modulated carrier signal and accumulating
 5 depends)      the transferred energy in said capacitor each time said switch is closed; and
                 wherein some of the previously accumulated energy is discharged from said
                 capacitor into load circuitry each time said switch is open”
 Dkt. 1-8, ’673 “an energy storage device … coupled to the switch which (a) when the switch
 patent, cl. 13  is on during the first sampling aperture, charges to store the first sample of
 (from which cl. energy …, (b) when the switch is off between the first sampling aperture and
 17 depends)     the second sampling aperture, discharges some of the first accumulation of
                 energy ….”

These limitations require the “storage element” to gain energy when the corresponding switch is

on, and then discharge energy while the switch is off. Id.; see Ex. 30B, Sub. Reb. Rpt., ¶851.

       But as Dr. Subramanian explained, and as ParkerVision fails to address in its motion (Mot.

at 23-25),

                                  . Ex. 30B, Sub. Reb. Rpt., ¶¶851-61. Among other evidence,

Dr. Subramanian performed simulations of the Intel products using models from ParkerVision’s

own expert, Dr. Steer. Id.

                                                                                :




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Id., ¶¶859 (SMARTi 5); see id., ¶¶859-61 (results for other Intel products). As shown above,




                                                                Id., ¶860. This evidence alone

demonstrates disputed factual issues precluding summary judgment.15

       B.      ParkerVision’s Evidence Does Not Establish That The Limitations Are Met.

       ParkerVision bases its argument solely on



                               .16 Mot. at 23-25.




                                                         Mot. at 25. That is wrong.




                                                                     See Ex. 30A, Sub. Op. Rpt.,



15
   ParkerVision’s arguments in its Daubert motion challenging Dr. Subramanian’s simulation-
related opinions (Dkt. 177) are inapplicable here because the simulations discussed here are
based on ParkerVision expert Dr. Steer’s own models. Ex. 30B, Sub. Reb. Rpt., ¶¶851-61; see
also Intel Corporation’s Response to Motion to Exclude Certain Expert Testimony of Dr. Vivek
Subramanian (filed concurrently with this brief), Section III.
16
   The experts agree that signals can be represented in either the “time domain”—whereby the
graph shows the signal’s voltage or current as it changes over time (as in the figures above)—or
in the “frequency domain”—whereby the graph shows how much of the signal is present at each
different frequency. Ex. 30B, Sub. Reb. Rpt., ¶¶209-13; Ex. 9, Steer Op. Rpt., ¶¶141-42.


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¶¶60, 91-94, 125-126.




See Ex. 30B, Sub. Reb. Rpt., ¶¶853-55.




Ex. 30B, Sub. Reb. Rpt., ¶¶818-19 (green annotation added) (showing results of simulation for

SMARTi 5); see also Ex. 30B, Sub. Reb. Rpt., App. A, ¶¶207-08 (SMARTi 7), Ex. 30B, Sub. Reb.


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Rpt., App. B, ¶¶50-51 (SMARTi 4G), 109-11 (SMARTi 7), 170-71 (SMARTi 8).

       Second, ParkerVision has also failed to show the required charging/discharging behavior.

As explained above, the claims require that the claimed storage element charge when its

corresponding switch is on and discharge when the switch is off. Supra §V(A).




                  . Supra n.16; see Mot. at 23-25. ParkerVision’s expert Dr. Steer effectively

conceded as much: he argued that



       Ex. 9, Steer Op. Rpt., ¶142.



                                                                 Supra §V(A).17

VI.    CONCLUSION

       For the foregoing reasons, ParkerVision’s motion should be denied.




17
   The frequency domain figures also fail to show the requirements that “the energy discharged
during any given discharge cycle is not completely discharged” (Dkt. 1-7, ’736 patent, cls. 1, 11);
“the remaining undischarged energy from the given discharge cycle becom[e] an initial condition
for a next charging cycle that begins immediately following the given discharge cycle” (id.); or
the energy is discharged to a “low impedance load” (id., cl. 27; Dkt. 1-8, ’673 patent, cls. 5, 27).


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Dated: November 15, 2022                         Respectfully submitted,

                                                 /s/ J. Stephen Ravel

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                               CERTIFICATE OF SERVICE

       I hereby certify that all counsel of record are being served with a copy of the foregoing

document via electronic mail on November 15, 2022.




                                                   /s/ J. Stephen Ravel
                                                   J. Stephen Ravel




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